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                UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                         SAVANNAH DIVISION


UNITED STATES OF AMERICA           )
                                   )
                                   )
v.                                 )     Case No. CR410-160
                                   )
HEZEKIAH MURDOCK, et al.           )
                                   )
                  Defendant        )


                 REPORT AND RECOMMENDATION

       Hezekiah Murdock, the lead defendant in this drug conspiracy case,

moves to suppress the evidence secured by the government through the

use of a wiretap authorized by this Court pursuant to Title III of the

Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. §§ 2510-

2520. Doc. 227. The validity of the wiretap is also challenged by co-

defendants Alphonso Oliver, who filed a separate motion to suppress,

doc. 198, and Jason Harrison, who was allowed to orally adopt Mr.

Murdock’s motion. Murdock also seeks to suppress evidence seized

during the execution of state search warrants for two Savannah
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residences. Doc. 228. These motions are without merit and should be

DENIED.



I. The Wiretap

      In 2007, Savannah law enforcement officer Michael DeLaTorre, a

member of the Counter Narcotics Team (“CNT”), 1 began an

investigation that focused upon Hezekiah Murdock, who was suspected

of distributing large quantities of marijuana and other drugs in the

Savannah area. Over the next two years, CNT agents, Savannah police

officers, and Drug Enforcement Administration (“DEA”) agents devoted

considerable time and resources to this investigation. These law

enforcement efforts culminated in the 2010 federal indictment of 32

defendants, 12 in this case and 21 in the companion case of United States

v. Gweh, No. CR410-159 (S.D. Ga. filed June 10, 2010). Murdock is

named in both indictments.

      On December 7, 2009, the investigators sought and obtained

authorization from this Court to wiretap a cellular telephone utilized by


      1
         CNT is a multi-agency task force consisting of members from various local
and state law enforcement agencies.


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Murdock. Doc. 227-1 at 48. That Order led to the interception of

thousands of phone calls, some 5700 of which were determined to be

pertinent to the criminal activity under investigation. Murdock seeks to

suppress the wiretap evidence on the ground that the government’s

wiretap application failed to satisfy the “necessity” requirement of 18

U.S.C. § 2518(1)(c).2 Murdock contends that there was no need for the

government to conduct a wiretap of his telephone, as the agents had

already “succeeded in accumulating a mountain of alleged evidence

against Defendant.” Doc. 227 at 2. Murdock further argues that the

wiretap evidence should be suppressed because the agents illegally

intercepted certain “text messages” not authorized by the wiretap order

and because of numerous other “defects and errors” in the affidavit. Id.

at 3. These arguments do not withstand analysis.

      The government’s wiretap application was supported by the 47-

page affidavit of DEA Agent Michael Sarhatt. Doc. 227-1. That affidavit

recounts in detail the two-year history of the investigation of Murdock

and some of his key associates. In brief, Agent Sarhatt disclosed that the


      2
          A judge may not issue a wiretap order unless “the facts submitted by the
applicant” demonstrate that conventional investigative techniques have failed or are
unlikely to succeed if tried. 18 U.S.C. § 2518(3)(c).

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investigators had developed a number of “confidential sources” who had

provided overlapping and consistent information that Murdock was a

regular distributor of substantial quantities of marijuana and other illicit

drugs in the Savannah community. 3 Through physical surveillence, the

agents confirmed that Murdock resided at, or frequented, several homes

or apartments described by the informants as stash houses or locations

where Murdock negotiated drug deals. Id. 1111 24, 25, 30, 39, 53, 68, 77.

The agents also had several informants make recorded or monitored

phone calls to either Murdock or one of his associates in an effort to

arrange a drug deal. Id. 1111 18, 20, 24, 44, 64, 82. On one occasion, an

informant made a controlled purchase of a pound of marijuana directly

from Murdock. Id. ¶ 24. On four other occasions, another informant

dealt with Murdock through a “middle man,” who would use the

informant’s cell phone to call Murdock and arrange delivery of the drugs.

Id. 1111 45, 52, 54. This informant made four controlled purchases of small

amounts of marijuana ($200-$300 worth) from Murdock’s associate. Id.

      3 Most of the informants began to cooperate after they were discovered by the
agents to be customers of the Murdock organization. Apparrently, only one of the
informants had a history of providing reliable information that had led to the arrest
and prosecution of others. Doc. 227-1 11 57. However, the seven informants listed in
the affidavit were determined to be reliable because of the consistency of the
information they provided and by the corroborating evidence gained by the agents
during their investigation.

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1111 44-45, 50-54, 64-70, 82. Agents were able to surveil Murdock as he

traveled to and from the site where some of these drug transactions

occurred. Id. 1111 45, 53, 68, 82.

      Agents developed further information from a reliable informant

that one of Murdock’s chief suppliers was Joshua Varner, who the

informant stated was bringing hundreds of pounds of marijuana to

Savannah each month. 4 Id. 11 58. In May 2009 Varner was a victim of a

drive-by shooting while operating a vehicle in Savannah. Id. 11 46. An

off-duty police officer who witnessed the incident had observed someone

closely resembling Murdock remove some item from the vehicle before

uniformed officers arrived on the scene. Id. ¶ 47. Later, a suspected

middle man for Varner was shot dead in his home as part of an apparrent

vendetta between Varner and a rival rapper 5 or drug dealer. Id. 11 55.

      Agents also obtained court authorization to employ pen registers

and trap and trace devices on cell phones used by Murdock and other

       4 The informant who furnished this information (CS6) had a history of

reliability in prior investigations. Doc. 227-1 ¶ 57. In addition, CS6’s information
was corroborated by another informant (CS7) who admitted to purchasing one-half
kilogram of cocaine from Murdock in May 2008. CS7 confirmed that Murdock’s
source of supply was Joshua Varner and stated that Murdock dealt in 100-pound
quantities of marijuana per month. Id. 11 76.

      5   Both Murdock and Varner were involved in the rap music business. Doc.
227-1 1111 13, 15, 29, 63, 75, 77.

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targets of the investigation. Id. 1111 83-91. They determined that

Murdock frequently communicated with individuals thought to be

involved in the business of distributing drugs and that he often changed

cell phones. These cell phone records further reflected that Murdock and

an associate listed false subscriber names and addresses with the phone

company. Id. 1111 88, 90.

      Murdock is correct that, using these standard investigative

techniques, the agents had amassed considerable evidence that he was

engaged in the drug trade. But Agent Sarhatt’s affidavit also reflects

that these techniques had not been successful in uncovering the full

scope of Murdock’s own criminal activities, much less in discovering the

breadth of the conspiracy, identifying all its members, or obtaining

sufficient evidence to secure the conviction of each conspirator. The

agents had hard evidence that Murdock was selling marijuana, for they

had made several controlled purchases of marijuana from either

Murdock or his intermediary. But the agents’ investigation gave them

good reason to believe that Murdock not only dealt in much larger

quantities of marijuana than reflected in the controlled buys, but that he

also distributed cocaine and other drugs (such as ecstasy). Id. 1111 14, 76.


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Despite their extensive investigation, the agents had not gathered

convincing proof sufficient to prosecute Murdock and other suspected

members of the drug conspiracy for the entire range of their criminal

activities.

      Agent Sarhatt explained that while the physical surveillance

conducted by the investigators had provided useful information, it had

not been successful in establishing conclusively the identities or roles of

the various conspirators. Id. 1111 95-96. The affidavit established that

Murdock took countermeasures that made surveillance difficult or

impossible at times, id. ¶ 34, and the nature of the conspiracy made it

unlikely that additional surveillance would add much to the agents’

knowledge. Sarhatt further noted that while the agents had developed

valuable information from a number of confidential sources, those

sources remained “on the fringe of this criminal organization” and could

only provide “snap shots” of the conspiracy. Id. 11 98. Sarhatt’s factual

recitation supports this assessment, for the informants were merely

customers of Murdock or his associates rather than inside men who had

detailed knowledge of the activities of the drug organization’s key

players. Nor had any undercover agent been able to penetrate the


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organization’s inner sanctum. Id. ¶ 100. Finally, Sarhatt convincingly

explained that neither the use of search warrants, grand jury subpoenas,

interviews of the conspirators, or additional pen register and trap and

trace information would uncover the type of evidence needed to shut

down the conspiracy and successfully prosecute all of its members. Id. ¶¶

97-103. 6

      The wiretap statute requires that any application for electronic

interception contain “a full and complete statement as to whether or not

other investigative procedures have been tried and failed or why they

reasonably appear to be unlikely to succeed if tried or to be too

dangerous.” 18 U.S.C. § 2518(1)(c). “The necessity requirement is

designed to ensure that electronic surveillance is neither routinely

employed nor used when less intrusive techniques will succeed.” United

States v. Van Horn, 789 F.2d 1492, 1496 (11th Cir. 1986) (citing United

States v. Giordano, 416 U.S. 505 (1974), and United States v. Kahn, 415

U.S. 143, 153 n.12 (1974)). The wiretap application “must simply

explain the retroactive or prospective failure of several investigative
      6
        The agents conducted trash pulls from residences utilized by Murdock to
conduct drug transactions. Id. ¶ 50. Although “residue amounts” of marijuana were
recovered, the agents gained no insights as to Murdock’s sources of supply,
customers, or financial dealings from these trash pulls. Id.


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techniques that reasonably suggest themselves.” United States v. De La

Cruz Suarez, 601 F.3d 1202, 1214 (11th Cir. 2010) (quoting Van Horn,

789 F.2d at 1496). “However, a comprehensive exhaustion of all possible

investigative techniques is not necessary before applying for a wiretap.”

Id. (citing United States v. Alfonso, 740 F.2d 862, 868 (11th Cir. 1984));

United States v. Hyde, 574 F.2d 856, 867 (5th Cir. 1978). “The statute

was not intended ‘to foreclose electronic surveillance until every other

imaginable method of investigation has been unsuccessfully attempted,

but simply to inform the issuing judge of the difficulties involved in the

use of conventional techniques.’” De La Cruz Suarez, 601 F.3d at 1214,

(quoting Alonso, 740 F.2d at 868).

      Murdock insists that the wiretap was unnecessary because the

investigators were highly successful in obtaining information against

him7 and had already identified most of his coconspirators. Doc. 227 at



      7  Murdock repeatedly focuses on the evidence against him alone. For instance,
he states that “the investigating agents did not lack for [confidential] sources willing
to cooperate with the Government and allegedly purchase narcotics from Murdock.”
Doc. 264 at 5 (emphasis added) Similarly, he notes that “[a]ny contention that
physical surveillance allegedly was unsuccessful is refuted by the fact that agents
successfully conducted physical surveillance of Murdock on numerous occasions,” and
that surveillance even led to “additional evidence being gathered against Murdock.”
Id. at 6 (emphasis added)



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17-18. But the investigation did not target Murdock alone. Nor had the

investigators built an airtight case against Murdock as to all of his

suspected criminal activities. Further, the purpose of the investigation

was not simply to identify Murdock’s coconspirators but to obtain

sufficient proof of their guilt to enable their successful prosecution. Only

through the use of a wiretap were the agents able to accomplish these

objectives.

      Contrary to Murdock’s understanding of the law, doc. 264 at 1-2,

agents who have developed “mountains” of evidence against one

conspirator are nevertheless permitted to use a wiretap to determine the

contours and dimensions of the entire conspiracy and to develop

sufficient evidence to prove each conspirator’s guilt beyond a reasonable

doubt. E.g., De La Cruz Suarez, 601 F.3d at 1214 (upholding wiretap

where investigators had already uncovered substantial evidence using

pen registers, physical surveillance, and five confidential informants; as

further surveillance would increase the likelihood of discovery and

searches would tip off coconspirators, agents could use wiretaps to

“determine the scope of the conspiracy and all of its members”); United

States v. Johnson, 2010 WL 3447800 at *1 (5th Cir. Sept. 1, 2010) (agents


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may use a wiretap to uncover the scope of a conspiracy when “the

affidavit gave specific reasons why physical surveillance, trash pulls, and

the use of cameras would risk compromising the investigation because of

the geographic layout of the area and would be unlikely to provide

information about the scope of the operation or [defendant]'s supplier”

and further confidential source purchases posed dangers and “would not

likely produce information about other members of the operation or

[defendant]’s source”); United States v. Armenta, 373 F. App’x 685, 688-

89 (9th Cir. 2010) (same); United States v. Carter, 449 F.3d 1287, 1293

(D.C. Cir. 2006) (same); United States v. Jackson, 345 F.3d 638, 644-45

(8th Cir. 2003) (same); United States v. Olmedo, 552 F. Supp. 2d 1347,

1365 (S.D. Fla. 2008) (“where conventional techniques will not show the

entire scope of the conspiracy, a wiretap is permissible, even in those

situations where conventional techniques will allow for the arrest and

conviction of some members”).

     Here, as in the cited cases, the wiretap affidavit refutes defendants’

contention that the government failed to establish any “necessity” for

the wiretap. The affidavit laid out the history of the investigation and

informed the issuing judge of the difficulties involved in using


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conventional investigative techniques. While the agents had developed

considerable information about the drug organization and of Murdock’s

role as a key figure in that organization, the agents had not been able to

infiltrate the conspiracy at its highest level, identify all of Murdock’s

coconspirators, or acquire evidence needed to convict each of the

conspiracy’s members. The district judge had a sound basis for

concluding that the government had shown a sufficient “necessity” for

the wiretap.

      Murdock next argues that the affidavit failed to show probable

cause for issuance of a wiretap order. Doc. 227 at 22-24. There is irony

here. After initially arguing that the “mountain” of evidence gathered

by the investigators was sufficient to prove his guilt beyond a reasonable

doubt, doc. 264 at 3-5, Murdock reverses course and suggests that the

confidential sources utilized by the government were insufficiently

reliable to furnish even reasonable grounds for securing a wiretap order. 8


      8
          Murdock makes much of a Second Circuit case, United States v. Lilla, 699
F.2d 99 (2d Cir. 1983), but the facts of that case are quite different from those
presented here. In Lilla, a police officer had managed a hand-to-hand exchange with
a drug dealer but wanted to get a wiretap to nab his cronies. That was the entirety of
the investigation. Nevertheless, the officer’s wiretap affidavit conclusorily stated
that “no other investigative method exists to determine the identity” of individuals
involved with the defendant. The Lilla court noted that the affidavit was so bad
“that the only useful purpose that might be served by the trooper’s affidavit . . . is as

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Of course, Murdock’s probable cause argument is fanciful, for the

investigators had not only developed abundant information from various

confidential sources that Murdock was a major drug dealer with multiple

sources of supply and numerous coconspirators, they had corroborated

that information through surveillance, the analysis of phone records, and

actual controlled purchases of drugs from Murdock and one of his

henchmen. Probable cause is not debatable here. 9

      Finally, Murdock claims that the agents engaged in “illegal”

interceptions by monitoring certain text messages not contemplated in

the wiretap order. Doc. 227 at 2, 21-25. At the hearing on defendant’s

motion, the government explained that the phone company served with

the wiretap order mistakenly relayed these text messages to the

monitoring agents, who immediately recognized the error, segregated the

an exhibit at a police training academy of how not to conform to the federal and state
statutory requirements.” Id. at 105. Unlike the officer in Lilla, the agents in this
case conducted a lengthy investigation and employed a variety of investigative
techniques in an effort to identify and prosecute each member of the conspiracy.
Only when those efforts proved unsuccessful did the agents apply for a wiretap. Lilla
offers no support for Murdock’s argument.

      9   Murdock suggests that Agent Sarhatt made several unsupported allegations
in his affidavit, including assertions that Murdock maintained certain residences and
utilized hidden compartments in a vehicle. Doc. 227 at 24-25. But even if these
“misstatements” are not simple errors but are assumed to have been deliberately or
recklessly made by the affiant, the exclusion of the statements would not undermine
the probable cause basis for the wiretap order. Thus, they are irrelevant to the
analysis.

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messages, and never reviewed them. The phone company was then

contacted and the messages were stopped. Defendant did not challenge

this explanation. Since the government was blameless and Murdock was

not prejudiced, there was no government illegality that would warrant

suppression of any of the phone intercepts that were lawfully monitored

by the agents.

      Defendant Oliver raises some additional arguments, but only one

merits discussion. He claims, in very cursory fashion, that many of his

calls were intercepted but the government never listed him as a target in

either the initial wiretap application or any of its extensions. 10 Doc. 198

at 1-2. Title III requires that wiretap applications disclose “the identity


      10
          Oliver also claims that the wiretap was not (1) necessary, (2) “limited in
such a way to respect the notions of the Fourth Amendment,” or (3) properly
minimized in accordance with the wiretap statute. Doc. 198 at 2. These claims are
utterly deficient, as Oliver has not supported his allegations with citations to the
record or to any legal authority. Such conclusory allegations violate this Court’s local
rules. S.D. Ga. L. Crim. R. 12.1. Nor did Oliver attempt to particularize these
arguments at the suppression hearing. “A motion to suppress must in every critical
respect be sufficiently definite, specific, detailed, and nonconjectural to enable the
court to conclude that a substantial claim is presented. . . . A court need not act upon
general or conclusory assertions.” United States v. Richardson, 764 F.2d 1514, 1527
(11th Cir. 1985). As Oliver’s claims are entirely conclusory, they do not deserve
consideration. Further, the Court can say with certainty that the necessity
requirement, at least, was met for the same reasons it was met as to Murdock. The
Court will not, however, scour the record to determine whether every call was
properly minimized or conjure up any Fourth Amendment argument on Oliver’s
behalf.


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of the person, if known, committing the offense and whose

communications are to be intercepted.” 18 U.S.C. § 2518(1)(b)(iv);

United States v. Donovan, 429 U.S. 413, 428 (1977) (“A wiretap

application must name an individual if the Government has probable

cause to believe that the individual is engaged in the criminal activity

under investigation and expects to intercept the individual’s

conversations over the target telephone.”).

     While he does not cite to the record, the Court will, for the sake of

present analysis, accept Oliver’s assertion that the wiretap orders did not

name him but should have. Suppression, however, is not warranted for

such violations. The Constitution certainly does not require that every

participant in an intercepted communication be named in the wiretap

application. Donovan, 429 U.S. at 427 n.15 (“It is not a constitutional

requirement that all those likely to be overheard engaging in

incriminating conversations be named” in the wiretap application); see

United States v. Bannerman, 2005 WL 2323172 at *3-4 (D. Mass. Aug.

25, 2005). Nor was Title III’s suppression provision, 18 U.S.C. §§ 2515 &

2518(10)(a), triggered by a failure to mention Oliver. Donovan, 429 U.S.

at 435. As the Supreme Court explained in Donovan:


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   If, after evaluating the statutorily enumerated factors in light of
   the information contained in the application, the judge concludes
   that the wiretap order should issue, the failure to identify
   additional persons who are likely to be overheard engaging in
   incriminating conversations could hardly invalidate an otherwise
   lawful judicial authorization. The intercept order may issue only if
   the issuing judge determines that the statutory factors are present,
   and the failure to name additional targets in no way detracts from
   the sufficiency of those factors.

429 U.S. at 435; see also United States v. Gonzalez Perez, 283 F. App’x

716, 722 (11th Cir. 2008) (suppression is not the proper remedy for

failure to identify all those likely to be overheard where that information

did not play a central role in the decision to authorize surveillance);

United States v. Easterling, 554 F.2d 195, 196 (5th Cir. 1977) (same). 11

Hence, the orders’ failure to list Oliver, standing alone, simply does not

warrant suppression here.

       Neither Murdock, Oliver, or Harrison 12 has shown any basis for

the suppression of evidence secured pursuant to the wiretap order issued

by this Court. Accordingly, their challenge to the wiretap interceptions

should be DENIED.

      11
        Easterling is binding Eleventh Circuit authority. See Bonner v. City of
Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc) (adopting as binding
precedent all decisions of the former Fifth Circuit decided prior to October 1, 1981).
      12
          As Murdock’s wiretap challenge fails, so does defendant Jason Harrison’s,
for he simply adopted Murdock’s motion without any additional argument.

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II. The Search Warrants

      Murdock seeks to suppress all evidence seized from two Savannah

residences -- 101 Rose Dhu Way and Apartment E-4 at the Dutchtown

Villas Apartments -- pursuant to search warrants issued by a local

superior court judge on May 11, 2010. Doc. 228. Murdock contends (1)

that there was no probable cause to search either residence, (2) the

warrant for the Dutchtown Road apartment listed the wrong street

address and therefore failed to meet the Fourth Amendment’s

particularity requirement, and (3) both warrants were overbroad in

giving agents “unbridled authority” to seize items for which there was no

conceivable probable cause. Id. The probable cause and overbreadth

arguments are patently meritless. The particularity contention raises a

more serious claim that required an evidentiary hearing. That claim,

too, ultimately fails.



      A. Probable Cause

      The Court has already referenced the “mountain of evidence” (to

use Murdock’s term) that the agents had acquired against Murdock

using traditional investigative techniques. But by the time agents sought


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search warrants for Murdock’s residence and his mother’s home on May

10, 2010, they had the benefit of thousands of incriminating telephone

conversations monitored pursuant to the wiretap orders issued by this

Court. Those intercepted conversations established conclusively that

Murdock was a central figure in “a large scale marijuana distribution

organization operating in California and Georgia.” Id. at 22. Through

these phone taps, the agents had confirmed that Murdock had a

California drug supplier, learned that a large shipment of marijuana was

delivered to Savannah on April 27, 2010 (and that Murdock had

participated in the off-loading, storage, and distribution of that

marijuana load), and discovered that a new marijuana shipment was

expected during early May. Id. at 22-23. 13

      So, by the time the agents sought search warrants, they had an

even larger mountain of evidence that Murdock was a major distributor

of drugs in the Savannah community. Murdock nevertheless argues that




      13
          Using the intercepts, agents had also been able to interdict some of the cash
proceeds of Murdock’s marijuana sales by conducting traffic stops of one of his
couriers in December 2009 and January 2010, seizing some $50,000 in the process.
Doc. 228 at 23. They had also seized 20 pounds of marijuana that the courier had
abandoned upon arriving at a Savannah bus station in February 2010. Id.


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probable cause was lacking as to the two properties for which the agents

applied for search warrants. In this he is mistaken.

             1. 101 Rose Dhu Way

      Agent DeLaTorre sought authorization to search 101 Rose Dhu

Way, a single family dwelling identified in his affidavit as the residence of

Murdock’s mother, Florence Murdock. 14 Id. at 29-30. His affidavit

pointed out that while Murdock had maintained four different residences

since 2009, he continued to frequent 101 Rose Dhu Way “before and

after drug transactions.” Id. at 29. The affidavit further noted that on

January 20, 2010, agents had intercepted a phone call to Murdock from

his sister regarding whether she should recover some money for him

from his bedroom at the residence. Id. at 25. Murdock then gave her

specific directions on where to find the money, told her to take the

“littlest one” from a bag, and directed her to deliver the money to Jeremy

Harris. Id. at 26. Elsewhere, the affidavit identified Harris as a drug

distributor, id. at 22, 27, quoted phone conversations between Murdock

      14
          For reasons not expressed, the government did not challenge Murdock’s
“standing” to contest the search of his mother’s home, even though the government
never lists this property as one of Murdock’s residences. As the matter was not
raised at the evidentiary hearing, the Court will assume that Murdock had a
legitimate expectation of privacy sufficient to contest the search of the property.



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and Harris regarding an anticipated drug deal, id. at 25, and referenced

another intercept regarding a drug deal that Murdock and Harris

consummated. Id. at 30. So, the affidavit offered good reason to believe

that the money Murdock’s sister recovered at 101 Rose Dhu Way and

delivered to Harris was drug related.

     On April 2, 2010, agents intercepted a phone call to Murdock from

his mother. She informed Murdock of her intention of having someone

clean the backyard of her residence and asked Murdock this question:

“you don’t have nothing that need to you know in the backyard?” Id. at

30. From this statement the agents drew the inference that Florence

Murdock was endeavoring to determine whether her son had drugs

stored in the backyard before allowing a yard man access to the area. Id.

In light of all the other evidence available to the agents, this was a

reasonable inference.

     The task of a court reviewing the validity of a search warrant is not

to make a de novo determination of probable cause but rather to evaluate

whether the issuing magistrate had a substantial basis for finding

probable cause. Massachusetts v. Upton, 466 U.S. 727, 722-23 (1984);

Illinois v. Gates, 462 U.S. 213, 238-39 (1983). Clearly, the affidavit


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furnished the state judge with sufficient information to support a finding

of probable cause as to the Rose Dhu Way property.

           2. Dutchtown Villas Apartment E-4

     The affidavit offered an even stronger probable cause basis for the

search of Murdock’s residence at the Dutchtown Villas Apartments.

Through surveillance and intercepted phone calls, agents had

determined both that Murdock frequently changed his place of residence

and that he routinely stored drugs and money at his residence. Doc. 228

at 29. The affidavit noted (as did the wiretap application) that during

April and May 2009 agents made controlled purchases of drugs from

Murdock and, on two occasions, surveilled him leave his residence (then

located at 68 Brown Pelican Drive in Savannah), drive directly to the site

of the drug deal, and deliver the drugs. Id. at 29. After surveillance

established that Murdock had moved into Apartment E-4 at Dutchtown

Villas Apartments, agents monitored phone calls between Murdock and

Jeremy Harris regarding a suspected drug deal. On April 28, 2010,

Murdock left his apartment and, following Harris’s rather cryptic

directions, traveled to 1000 Ford’s Point Circle, which he entered

momentarily before driving directly back to his apartment. Murdock


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carried a large package inside, then exited and drove his vehicle to a gas

station, where he discarded a box into a dumpster. Agents recovered the

box and found that it contained a green leafy substance believed to be

marijuana. Id. at 30. Afterwards, agents observed Murdock leave his

apartment, place something in his vehicle, and drive to a local mall.

During that trip, agents monitored a phone call between Murdock and

one of his main distributors regarding the delivery of several pounds of

marijuana. Id. at 31. After meeting the distributor at the mall and

completing the apparent drug deal, agents observed Murdock put a

package in the trunk of his vehicle and return to his apartment. Id. at

31.

        Presented with this evidence, the state judge had a substantial

basis for finding that probable cause existed to search Murdock’s

apartment.

        B. Particularity

        After determining that Murdock had moved into Apartment E-4 at

the Dutchtown Villas Apartments and was operating his drug business

from there, Agent DeLaTorre applied for a warrant to search those

premises. The warrant described the place to be searched as follows:


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      1045 Dutchtown Road apartment E-4, Savannah, Georgia.
      The residence is a single family apartment and is the bottom
      right apartment in building E. Apartment #E-4 is affixed to
      the front door.

Doc. 228 at 21 (application for search warrant), 35 (search warrant). In

fact, it is undisputed that the correct address for the Dutchtown Villas

Apartments is 1036, not 1045, Dutchtown Road. It is further undisputed

that 1045 Dutchtown Road is the address of a house located directly

across the street from the apartment complex.

      Agent DeLaTorre testified that although he had conducted

surveillance of Murdock’s apartment on numerous occasions and had

actually resided at Dutchtown Villas Apartments in the past, he was

unfamiliar with the apartment complex’s street address and had

difficulty locating the address prior to applying for the search warrant. 15

Consulting with another police officer who regularly patrolled this area,

      15
         DeLaTorre stated that he conducted surveillance directly across the street
from the apartment complex, parking his vehicle in front of a residence that, it now
turns out, bears the address of 1045 Dutchtown Road. DeLaTorre did not recall
seeing any sign reflecting the street address for the apartment complex, nor did he
pay any attention to the address of the residence located across the street from that
complex. Defendant has since produced photos of both a sign reflecting a “1036”
address for the apartment complex and a mailbox marked “1045” located in front of
the across-the-street residence. He offered no evidence or testimony, however, that
those signs were in place in May 2010 when the search warrant was issued.
Nevertheless, the Court will assume that the signs were present at that time and
were simply overlooked by the officer.


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DeLaTorre was informed that the proper street address for the

apartment complex was “1045” Dutchtown Road. DeLaTorre then relied

on this information in preparing his search warrant application.

      The Constitution is quite clear in its command that no warrants

shall issue except those “particularly describing the place to be searched

and the person or things to be seized.” U.S. Const. amend. IV; Maryland

v. Garrison, 480 U.S. 79, 84 (1987); United States v. Burke, 784 F.2d

1090, 1092 (11th Cir. 1986). “The manifest purpose of this particularity

requirement was to prevent general searches.” Garrison, 480 U.S. at 84.

A warrant that lacks a sufficiently particular description of the place to

be searched or the property to be seized is invalid, and evidence seized

pursuant to such a warrant is subject to suppression. 16 But the Fourth

Amendment does not require that a search warrant be “‘technically

accurate in every detail,’” United States v. Prout, 526 F.2d 380, 387 (5th

Cir. 1976) (citation omitted), or achieve “the specificity sought by

conveyancers.” United States v. Burke, 784 F.2d at 1092; United States

v. Weinstein, 762 F.2d 1522, 1532 (11th Cir. 1985). Accordingly, an error

      16
          “Even if a warrant is invalid, law enforcement’s good-faith reliance on it
may prevent the application of the exclusionary rule.” United States v. Schwinn, 376
F. App’x 974, 980 n. 5 (11th Cir. 2010) (citing United States v. Leon, 468 U.S. 897
(1984)).

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in the description of the place to be searched does not necessarily

invalidate a warrant and subsequent search. Burke, 784 F.2d at 1092;

Weinstein, 762 F.2d at 1532. Generally, a search warrant satisfies the

Fourth Amendment if it describes the premises in such a way that the

executing officer may “with reasonable effort, ascertain and identify the

place intended.” Steele v. United States, 267 U.S. 498, 503 (1925); Burke,

784 F.2d at 1092; Weinstein, 762 F.2d at 1532. A court considering a

particularity challenge should also inquire as to whether there is any

reasonable probability that another premises might be mistakenly

searched. Prout, 526 F.2d at 387-88; United States v. Avarello, 595 F.2d

1339, 1334 (5th Cir. 1979); 2 Wayne R. LaFave, Search and Seizure § 4.5

at 562 (4th ed. 2004). (the particularity requirement is designed “to

minimize the risk that officers executing search warrants will by mistake

search a place other than the place intended by the magistrate.”). If the

warrant, despite its deficiencies, is sufficient to identify the correct

property, it satisfies the Constitution.




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      Numerous cases have held that an error in the street address 17 or

apartment number of the premises to be searched does not offend the

particularity requirement provided the warrant’s physical description of

the premises is otherwise sufficient to direct the searchers to the correct

house or apartment. In United States v. Burke, 784 F.2d 1090 (11th Cir.

1986), the warrant authorized a search of premises located at “38 Throop

Street, being a two-story red brick building, trimmed in a reddish-brown

paint with a shingled roof and three adjacent apartments, with

Apartment 840 being the far left apartment . . . .” Id. at 1092. In fact,

the defendant resided at 48 Troup Street, apartment 840. The Eleventh

Circuit noted, inter alia, that there is no “Throop” Street in Atlanta and

that Troup Street is the only street bearing a similar name. Although no

residence on Troup Street was numbered “38,” the “detailed physical

description of the building . . . minimiz[ed] the possibility that an

apartment in any bulding other than the correct one would be


      17
           Identifying the place to be searched by its street address is sufficient but
not always necessary to satisfy the particularity requirement. Professor LaFave
gives this example: “a warrant to search apartment 8-B in the Colonial Terrace
Apartment in a certain community is sufficient without a street address, in the
absence of any showing that there is more than one apartment complex with that
name in the city.” 2 LaFave, Search and Seizure § 4.5(a) at 564 (citing Tomblin v.
State, 128 Ga. App. 823, 198 S.E.2d 366 (1973)).



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searched.” 18 Id. at 1092. Similarly, in United States v. Darensbourg, 520

F.2d 985 (5th Cir. 1975), the warrant authorized the search of

“Apartment #70, located at 3101 Highland Rd., in the City of Baton

Rouge.” In fact, the defendant’s apartment was located on July Street,

not 3101 Highland Road, which was the address of the business office of

the large apartment complex containing some 450 apartments. Since

defendant’s apartment was the only one within the complex numbered

70, the court found “little likelihood that the wrong premises would be

searched -- as indeed they were not.” Id. at 988. 19

      In this case, despite the erroneous street address, the detailed

physical of the premises left no doubt as to the place intended to be
      18
           Before applying for the warrant, the agent accompanied the confidential
informant to the defendant’s apartment complex and had the defendant point out the
building and apartment where defendant resided. The Burke opinion does not
discuss why the agent failed to notice that the defendant lived at 48 Troup Street
rather than “38 Throop Street.”
      19
           Many other cases have held that an address error will not invalidate a
search warrant where the detailed physical description of the premises makes clear
which premises are intended. See, e.g., United States v. Turner, 770 F.2d 1508 (9th
Cir. 1985) (erroneous street number did not invalidate the search where the warrant
described the house with great particularity, no nearby house met this detailed
description, the address was reasonable for the location intended, the house had been
under surveillance, the executing officer personally knew which premises were
intended, and the correct house was searched); United States v. Figueroa, 720 F.2d
1239, 1243 n. 5 (11th Cir. 1983) (erroneous address “inconsequential in light of a
clear description of the name of the building and its physical appearance”); United
States v. Melancon, 462 F.2d 82 (5th Cir. 1972) (an error in the rural box number not
fatal where the warrant provided a detailed physical description which accurately
described the residence to be searched).

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searched. The search warrant authorized the search of “Dutchtown

Road apartment E-4,” described the residence as “a single family

apartment,” noted that it was the “the bottom right apartment in

building E,” and stated that “Apartment #E-4 is affixed to the front

door.” Doc. 228 at 35. It is undisputed that the property located at 1045

Dutchtown Road is a small house, not part of an apartment complex.

There is no “building E” on the property, and the term “bottom right

apartment” has no conceivable application to this house. Nor is there

any “E-4” affixed to the front door of the 1045 residence. Any reasonable

agent executing the search warrant would immediately recognize that

the freestanding residence located at 1045 Dutchtown Road did not fit

the physical description of the premises named in the warrant. Further,

it is undisputed that directly across the street from the 1045 address was

an apartment complex containing a “building E” and an “Apartment E-

4,” just as described in the warrant. This was the only apartment

complex on Dutchtown Road. Under these circumstances, there was

little or no possibility that an executing officer -- even one unfamiliar

with the history of the investigation and the location of Murdock’s

apartment -- would search the wrong premises.


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     But there is an even stronger ground for finding that the

particularity requirement was not violated in this case. The agent in

charge of the search team that executed the warrant for Apartment E-4

knew precisely which premises were to be searched. Agent LaTosha

Jones testified that she had worked in the wiretap monitoring room and

was well familiar with the Murdock investigation. Although she had not

conducted surveillance of Murdock’s apartment, she had been carefully

briefed in advance of the search by Agent DeLaTorre, who informed her

that Murdock’s apartment was in the Dutchtown Villas Apartments

located adjacent to the Savannah Commons Retirement Community and

across the street from the Islamic Center. Agent Jones familiarized

herself with the search warrant affidavit and reviewed a color

photograph of Murdock’s apartment building. She testified that given

her detailed knowledge of the apartment to be searched, she did not even

bother looking for street numbers, for she knew exactly where she was

going. Upon arriving at the apartment complex, she led the search team

to the bottom right apartment in building E, which was marked “E-4”

just as described in the warrant. Murdock was inside the apartment at

the time of entry.


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     It is well settled that an officer’s personal knowledge of the place to

be searched is a significant factor which may be considered by a court in

reviewing a particularity challenge. Burke, 784 F.2d at 1093; Weinstein,

762 F.2d at 1532-33. This is true “even where such knowledge was not

reflected in the warrant or the affidavit supporting the warrant.” Burke,

784 F.2d at 1093; see 2 LaFave, Search and Seizure § 4.5(a). I find that

under the particular facts of this case the erroneous street address

reflected on the face of the warrant did not invalidate the warrant or

require suppression of the evidence seized by the agents from Murdock’s

apartment. Given the warrant’s detailed physical description of the

premises to be searched, no reasonable officer would have entered the

residence located at 1045 Dutchtown Road, for that house failed to fit the

description of the property to be searched as to any particular.

Moreover, present at the scene of the search was an agent who had read

the affidavit in its entirety, had been briefed by the case agent who

served as the affiant for the warrant, and had reviewed a photograph of

Murdock’s apartment. There was simply no possibility that the

executing officers would enter any property other than the specific




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apartment for which the issuing magistrate had found probable cause to

search.

     Despite the address error, this warrant was sufficiently particular

to direct the executing officers to Murdock’s apartment. His

particularity challenge must be rejected.

     C. Overbreadth

     Finally, Murdock argues that the search warrant was overbroad

and unparticularized as to the items to be seized. Doc. 228 at 10-14. He

suggests that the warrant’s “sweeping description of property to be

searched for . . . and seized” made it defective on its face. Id. at 10. He

further contends that the warrant’s “wildly cast net” furnished the

agents with “unbridled authority” to seize documents and other items

not connected to the affidavit’s probable cause showing. Id. at 13.

     Murdock is correct that the search warrant authorized the agents

to seize a broad range of items, including (1) controlled substances, drug

paraphernalia, scales and mixing devices, and packaging materials, (2)

books, records, and data stored on computers, cell phones, and other

electronic devices reflecting drug sales and/or the use and ownership of

the premises being searched, rental storage units, and safe deposit boxes,


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(3) photographs or other images (in whatever form) depicting displays of

wealth or persons involved in criminal activity, (4) currency constituting

the proceeds of drug activity, and (5) firearms and other weapons. Id. at
36.20 Murdock, however, makes no effort to explain how this


      20
           Specifically, the warrant authorized the search and seizure of:

      All controlled substances, controlled substances paraphernalia, scales
      and mixing devices, packaging materials, all equipment, devices,
      records, computers and computer storage discs, to include the seizure of
      computers to retrieve such records, books or documents adapted and
      used for the purpose of producing, packaging, dispensing, delivering or
      obtaining controlled substances, or recording transactions involving
      controlled substances, PDA's, cell phones, pagers, other electronic
      devices capable of recording information pertinent to drug sales/use any
      indicia ownership, photos, and mail showing the existence of rental
      storage units/keys, safety deposit boxes/keys, bank accounts and safes,
      dominion, or control over the premises to be searched including rental
      receipts, mortgage payments, utility bills, photographs, images (either
      electronic and/or printed and/or developed and/or undeveloped) of any
      persons involved in the criminal conduct, all financial records pertaining
      to the disposition of the proceeds of the violation of the criminal laws
      specified above, and all of the above records, whether stored on paper,
      on magnetic media such as tape, cassette, disk, diskette, or on memory
      storage devices such as optical disks programmable instruments such
      was telephones, voice mail, answering machines, electronic address
      books, calculators, or any other storage media, together with indicia of
      use, ownership, possession, or control of such records, and any goods or
      personal property, including US currency or negotiable instruments,
      constituting proceeds of a violation of the aforesaid laws or funds used
      to facilitate the same, firearms, including handguns, pistols, revolvers,
      shotguns, rifles, machine guns, and other weapons, and any evidence or
      items which would be used to conceal the forgoing or prevent its
      discovery. Also documents with names or addresses indicating
      ownership or occupation of the residents.

Doc. 228 at 36.



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comprehensive list of items to be seized violated the Fourth

Amendment’s particularity requirement. Murdock correctly notes that

the particularity provision requires “‘that the warrant must clearly state

what is sought.’” Id. at 11; U.S. Const. amend. IV (a warrant must

“particularly describ[e] the . . . items to be seized”). Although the

warrant specifies an extensive list of items to be searched for, Murdock

never explains how this list lacks particularity. His argument must be

rejected.

      Nor does Murdock demonstrate that there was no probable cause to

search for the listed items. While it is true that most of the items

specified in the warrant had not previously been observed by the agents

going into or out of the residence, the law does not require such direct

observation in every case. 21 Where the government is seeking to search

the residence of one of the principal figures in a drug enterprise, the

courts have frequently upheld warrants authorizing a search for a

generic class of items common to the drug trade, such as “drug

trafficking paraphernalia, records, money, and other evidence of drug


      21
          The agents had surveilled Murdock leaving the residence with suspected
marijuana and had observed him return to the residence with the suspected proceeds
of marijuana sales. Doc. 228 at 30-31. So, there was direct observation to this extent.

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trafficking.” United States v. Morisse, 660 F.2d 132, 136 (5th Cir. 1981);

see also United States v. Harris, 903 F.2d 770, 775 (10th Cir. 1990) (“The

type of criminal activity under investigation in the present case -- a drug

dealing business -- makes it difficult to list with any greater particularity

the books and records described to be seized which evidences such

activity.”).

      Here, the government established probable cause to believe that

Murdock was heavily involved in the drug trade and that he stored large

quantities of marijuana, as well as the proceeds of his marijuana sales, at

his residence. Although the agents had not actually seen all of the items

described in the warrant, these items constitute either the common tools

of the drug trade or the types of records customarily kept by those in the

business of distributing drugs. It was therefore reasonable for the

issuing magistrate to infer that items of this nature would likely be

found in the residence. “The complexity of an illegal scheme may not be

used as a shield to avoid detection when the State has demonstrated

probable cause to believe that a crime has been committed and probable

cause to believe that evidence of this crime is in the suspect’s

possession.” Andresen v. Maryland, 427 U. S. 463, 481 n. 10 (1976).


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     While Murdock argues that the warrant gave the agents “unbridled

authority” to seize items for which there was no probable cause, he never

explains how any of the listed items were outside the bounds of the

warrant affidavit’s probable cause showing. He does, however, contend

that the agents seized certain documents -- specified only as “church

documents of Mrs. Florence Murdock” -- that “were patently outside the

scope of the warrant’s and/or the probable cause used to secure them.”

Doc. 228 at 13. When the items sought by a search are numerous and

varied, it is not uncommon for agents to mistakenly seize records that

are beyond the scope of the warrant. “Courts have consistently held,

however, that absent a ‘flagrant disregard’ of the terms of the warrant,

the seizure of items outside the scope of a warrant will not affect the

admissibility of items properly seized.” United States v. Wuagneux, 683

F.2d 1343, 1352 (11th Cir. 1982). Even assuming that the “church

documents” seized by the agents fell outside the scope of the warrant,

Murdock has failed to establish that the agents “flagrantly” exceeded its

scope. Further, if the agents did exceed their authority in seizing the

church documents, then the appropriate remedy is exclusion of these




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particular documents, not the invalidation of the entire warrant. Id. at

1354.



III. CONCLUSION

        For the above stated reasons, defendants’ motions to suppress

should be DENIED.

        SO REPORTED AND RECOMMENDED this 17th day of

December, 2010.



                               1JMThD SL&TES MAGISTRATE JUDGE
                               SOUTHERN DISTRICT of GEORGIA




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